                         Case 3:13-cv-00182-JLH Document 29 Filed 12/19/14 Page 1 of 1
    (Post. 4/4/12)




                                United States District Court
                                         Eastern District of Arkansas
   Michael D. Alcorn, et al.                                                             NOTICE

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  United States of America, et al.
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               Richard Sheppard Arnold United States Courthouse       ROOM NO.
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               500 West Capitol
               Little Rock, Arkansas 72201                            DATE AND TIME
                                                                                      February 11, 2015, at 9:30 AM
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   Settlement conference before Magistrate Judge Beth Deere




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               Richard Sheppard Arnold United States Courthouse
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               500 West Capitol
               Little Rock, Arkansas 72201




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   12/19/2014                                                         /s/ Suzy Flippen
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To: Hon. J. Leon Holmes
    Mr. Bobby McDaniel
    Mr. David Keith Sarver
    Mr. Rodney L. Chedister
    Ms. Lindsey Mitcham Lorence
    Mr. Paul D. McNeill
    CSO
